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 1                                                      THE HONORABLE BRIAN A. TSUCHIDA
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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     CHRISTOPHER J. HADNAGY, an individual;
 9   and SOCIAL-ENGINEER, LLC, a Pennsylvania               No. 2:23-cv-01932-BAT
     limited liability company,
10                                                          NOTICE OF CHANGE OF ADDRESS

11                         Plaintiff,
12           v.
13
     JEFF MOSS, an individual; DEF CON
14   COMMUNICATIONS, INC., a Washington
     corporation; and DOES 1-10; and ROE ENTITIES
15   1-10, inclusive,

16                         Defendant.
17

18          PLEASE TAKE NOTICE that, effective the date of this notice, the Seattle office address
19   for Perkins Coie LLP and the undersigned attorneys has changed to the following:
20                                          1301 Second Ave.
21                                             Suite 4200
22                                         Seattle, WA 98101
23          The Court and all counsel and parties are hereby requested to make note of this change and
24   send all notices, orders, pleadings, and other communications concerning the above-captioned
25   matter to the new address. The firm’s local telephone and fax numbers will remain the same: 206-
26   359-8000 (telephone) and 206-359-9000 (fax).
     NOTICE OF CHANGE OF ADDRESS                                            Perkins Coie LLP
                                                                     1301 Second Avenue, Suite 4200
     (No. 2:23-cv-01932-BAT) –1                                         Seattle, Washington 98101
                                                                         Phone: +1.206.359.8000
                                                                          Fax: +1.206.359.9000
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 2   Dated: June 16, 2025                   By: s/ David Perez
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12                                          Email: LTrambley@perkinscoie.com

13                                          Attorneys for Defendants Jeff Moss and Def
                                            Con Communications, Inc.
14

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     NOTICE OF CHANGE OF ADDRESS                                 Perkins Coie LLP
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